                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

                         Plaintiff,
                                                        Case No. 18-CR-10444-NMG
        vs.

MORRIE TOBIN and,                                            FILED UNDER SEAL
MILAN PATEL
                         Defendants.




              GOVERNMENT’S CONSOLIDATED SENTENCING MEMORANDUM

        The United States of America, by and through Assistant United States Attorney Eric S.

Rosen, respectfully files this sentencing memorandum in advance of the August 12, 2020

sentencing of Defendant Morrie Tobin (“Tobin”) and the August 13, 2020 sentencing of Defendant

Milan Patel (“Patel”).




        For Tobin, the government respectfully recommends a sentence of five years of probation,

a fine in the amount of $30,000, forfeiture of $4,000,000 in the form of a money judgment, and 36

months of supervised release. 1 For Patel, the government respectfully recommends a sentence of

four months of imprisonment, a fine in the amount of $25,000, and 36 months of supervised

release. 2



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          Tobin has already paid the $4,000,000 required under the plea agreement.
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          The government requests that any order of restitution be deferred 90 days in accordance
with Title 18 United States code, Section 3664(d)(5), which allows up to 90 days after
sentencing to determine the restitution amount. The government expects to seek joint and
several restitution for any parties aggrieved by the charged securities fraud.
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       Overview of the Crimes

       The securities fraud investigation that ultimately led to charges again Tobin and Patel

began in 2016 with an investigation into Silverton, a purported asset management firm based in

Switzerland that was owned by Roger “Rocket” Knox. Knox operated the firm together with his

associate, Richard Targett-Adams. 3 The investigation, which was conducted in parallel with the

Securities and Exchange Commission (“SEC”), showed that Knox acquired and traded shares of

microcap stocks on behalf of individuals engaged in securities fraud. Specifically, shortly before a

“pump-and-dump” or a similar type of market manipulation, the owners of a company’s shares

would transfer their shares to Silverton, which would then trade the shares on behalf of the owners.

In total, Knox’s Silverton generated more than $160 million in securities fraud proceeds through

trading in approximately 50 issuers. By the fall of 2017, investigators had determined that the

stock Environmental Packaging Technology Inc. (“EPTI”) had been the subject of a pump and

dump scheme in the spring and summer of 2017 using the Silverton platform, as orchestrated by

Tobin and others, with the assistance of Patel.

               Environmental Packaging Technology Inc. (“EPTI”)

       The public company that became EPTI started its life as a Nevada-based public shell

company named GS Valet. Tobin used and directed a number of nominee shareholders –

                                                                        – to hold the GS Valet

shares on his behalf so that his ownership levels would not exceed certain ownership thresholds.

By August 2013, Tobin controlled 20 million of the approximately 26 million shares in GS


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          In January 2020, Knox pled guilty to a two-count Indictment charging him with
conspiracy to commit securities fraud and securities fraud. See 18-CR-10385-NMG. Targett-
Adams has also pled guilty to a two-count Information charging him with conspiracy to commit
securities fraud and money laundering and securities fraud. See 19-CR-10046-IT.


                                                  3
Valet.

         Approximately two years later, Tobin, now working with Patel, began preparations to

reverse-merge the private company Environmental Packaging (EPT) into the GS Valet shell

company in order to create the public company EPTI, which they would control through

nominee shareholders. As an example, in May 2015, two GS Valet shareholders transferred

approximately three million shares into two entities, Widder Investments and Mithical Holdings.

Patel, acting as a director of those entities, signed documents on behalf of both Widder and

Mithical. By late 2015, Tobin, through nominee shareholders and entities, controlled 23,459,458

out of 23,810,852 shares of GS Valet.

         As the merger of EPT into the GS Valet shell (now named IMST) prepared to close in the

spring of 2017, Tobin’s nominees began the transfer of their shares into four entities controlled

by Patel – Mithical, Widder, Sayson Capital LLC and Woolf Ventures. These four entities—

Mithical, Widder, Sayson and Woolf—each held approximately 2.6 million shares, which is just

under the 5% threshold for disclosure. In reality, however, Tobin was the beneficial owner of

these shares.

         From April 2017 to May 2017, Mithical, Widder, Sayson and Woolf transferred their

shares to the Silverton and         brokerages so that the shares could then be re-sold to the

public. 4 Sayson transferred 2,672,169 shares of EPTI to Silverton SA’s brokerage account at

                , located in Malta. Widder transferred 2,538,501 shares to Silverton SA’s

brokerage account at                                             . Mithical transferred 2,622,674

shares to Silverton SA’s brokerage account at            in the United States. Woolf Ventures



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transferred its 2,640,947 shares to an                 account at                     in the

United Kingdom. At this point, with the free trading shares now held at brokerages around the

world, Tobin controlled 23,334,459 of 23,810,852 outstanding shares.

       In May 2017, as part of the reverse merger whereby the private company EPT reverse-

merged into the public shell, the shell company issued 40,000,000 restricted shares to the EPTI

owners. As a result, the total number of outstanding shares increased, and Tobin’s ownership

stake therefore declined in percentage terms; however, because the newly issued shares were

restricted, Tobin controlled almost all of the free-trading shares of EPTI.

       The reverse-merger between the IMST shell and EPT closed on June 9, 2017, although

the ticker EPTI commenced trading in late February. At approximately this same time, Tobin,

together with others, including Patel, engaged in a paid campaign to promote EPTI. This

promotional campaign, fueled by false and misleading analyst reports and press releases,

dramatically increased the volume of EPTI shares sold on the market. Between February 2017

and June 8, 2017, EPTI's closing share price ranged from a low of $0.75 to a high of $1.05 on

average daily volume of approximately 2,360 shares. Between June 9, 2017 and June 13, 2017,

as the promotional campaign got underway, the price of EPTI ranged from a low of $1.13 to a

high of $1.27 on an average daily volume of approximately 493,275 shares. By June 27, 2017,

the price of EPTI had increased to $2.18 per share. That same day, the SEC halted trading in

EPTI for a period of approximately two weeks due to manipulative trading and the accuracy of

the statements contained in third-party stock promotion materials. 5 EPTI currently is listed at


       5
         The manipulative trading, which was designed to make it appear to unsuspecting
investors that there was a liquid market for the shares, was coordinated by Eric Landis. Landis
pled guilty to a one-count Information charging him with securities fraud. See 18-CR-10443-IT.



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$.0001/share on the over-the-counter markets.

         The promotional campaign that fueled the pump and dump of EPTI was coordinated by a

company called                                           In total,    was paid approximately $1

million to coordinate the promotion. The $1 million used to pay            was diverted from the sale

of EPTI shares in a private placement. Instead of the money raised in the private placement

being returned to EPTI and used to expand the company, $1,015,000 was sent to the escrow

account of a New York law firm

was the lawyer assisting Tobin with the deal. From there, the money was transferred to Silverton

and then on to        to fund the promotion. 6

               in turn, sent the invoices for its services first to             , who helped

coordinate trading for Tobin, and then to Patel. The invoices were directed to the third-party

entity “Svarna.” Svarna was a fictitious entity created solely to serve as an intermediary between

EPTI and the stock manipulation promotional scheme. Tobin and the others involved in the

promotion did not want it to appear that the money being used to promote EPTI came from EPTI

itself, so they created Svarna to serve as an intermediary.

         The higher volume of EPTI stock sales from June 9 until June 27, 2017 made it possible

for the Silverton brokerage accounts to sell Tobin’s shares into the public market. From June 9,

2017 until June 27, 2017, when trading was halted, Silverton SA’s                 account sold

approximately 455,000 shares, reaping trading profits of approximately $677,707. During that

same time period, Silverton's account at                       sold approximately 440,579 shares,




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    Emails indicate that Tobin controlled the flow of money to fund the         promotion.
                                                     6
netting proceeds of approximately $626,592. 7 In total, these entities earned approximately $1.3

million from the sale of EPTI. In addition,             account at          sold approximately

178,000 shares, netting proceeds of approximately $236,000.

       In July 2017, the SEC launched an investigation into the manipulative trading and

ownership of EPTI. As a result, Tobin and Patel made a decision to keep the proceeds from

EPTI at the Silverton and            brokerages overseas and not repatriate the funds. In addition,

EPTI                         believed that auditors would question the diversion of approximately

$1 million from the private placement to pay for the promotion of EPTI. As a result,

began making plans to recover the money for EPTI.

       The $1 million in funds diverted to fund the promotion had been referred to in prior

emails between              Tobin and others as payment for a “consulting project in Europe,”

which did not exist. Accordingly, to return the money to EPTI, a scheme was devised whereby

Tobin would sell to outside investors approximately two million of Tobin’s EPTI shares

currently held in nominee entities created by Patel. Ultimately, the outside investors paid

$1,015,000 for Tobin’s two million shares, which was the exact amount spent on the EPTI

promotion. Wire transfer records show that instead of this money being paid to the entity who

sold the shares (in this case Woolf Ventures), the money was diverted back to EPTI through wire

transfers to and from the         escrow account.




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          Similar to EPTI, Tobin also orchestrated the reverse merger of the private company

                          into a shell company to form a public company that traded as

As with EPTI, Tobin controlled the entirety of the free-trading shares of the now-public

company (          ) by placing the shares into purportedly independent shareholding entities

created by Patel and Ledvina, which allowed Tobin to sell more than $2 million worth of

shares in March 2017. These            sales included 300,000 free-trading shares that Patel and

Matthew Ledvina had acquired from Tobin shortly before the reverse merger in exchange for

$300,000. 8

          In August 2015, a Nevada shell company filed an S-1 registration statement which listed

its shareholders as 29 Serbian individuals owning the free-trading shares (6,984,000 shares), and

one Cypriot owning the 18,000,000 restricted shares. In June 2016, Tobin began the process of

purchasing the shell in order to reverse merge the company into                          . In that

regard,                                raised money for a      shares private placement; once

raised, this money was placed into a         escrow account; later, $420,000 from the private

placement was used to purchase the shell company. As part of that acquisition, the entire control

block of restricted shares (18 million) was acquired by Aureus Fiduciary Nevis Limited, a

company set up and controlled by Patel. At approximately this same time, Tobin’s consulting

company acquired 1,024,002 of the shell’s free trading shares, an amount just below the 5% level

that would have required disclosure.



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         Ledvina was one of Patel’s law partners in Switzerland. Ledvina pled guilty to
conspiracy to commit securities fraud                                                   .
See 18-CR-100445-WGY. Ledvina was sentenced to 30 months of probation and ordered to pay
a $50,000 fine.
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       Tobin then began preparing to place the shell’s remaining free-trading shares

(approximately 6 million) into five nominee shareholders set up by Patel. Patel was also the

authorized signatory on all of the nominee entities. In addition, Patel and Ledvina acquired for

themselves 299,999 free-trading shares from one of the original Serbian shareholders. These

shares should not have been free-trading due to the fact that they were acquired from Tobin. 9

However, because the shares were still technically owned by an individual in Serbia, a share

purchase agreement in an amount of approximately $800 was entered into between a Serbian

man and an entity controlled by Patel. While the paperwork stated that the shares cost $800,

Patel and Ledvina had in fact paid Tobin $300,000 for the free-trading shares. In short, by

September 2016, the entities controlled by Tobin and Patel owned or controlled 95% of the

outstanding shares of the shell company. 10

        In November 2016, the reverse merger between the shell company and              was

completed, and          began trading. At this point, Tobin and Patel controlled nearly 80% of

the currently unrestricted free trading shares. Thereafter, the entities controlled by Patel on

behalf of the Tobin began transferring their shares to          and Knox’s Silverton so that they

could be sold. Beginning on February 27-28, 2017,              sold 210,000 shares of             for

proceeds of $544,349. Prior to this trading, there had been very little liquidity in        and no

company news that would have spurred trading. However, Tobin had arranged to sell Patel’s


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          Because Tobin controlled nearly all the shares of the            shell company, he was
an affiliate, and as such, any shares sold by Tobin would have been restricted.




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shares in an open-market cross-trade with purchasers in California. In addition,              released

approximately eight press releases in this timeframe, and Tobin paid individuals to promote the

numerous press releases in order to generate volume. These actions resulted in volume

increasing from an average of 6,215 shares/day to 34,903 shares/day. In total, from February 27,

2017 to March 21, 2017,             sold approximately 320,000 shares of

which yielded proceeds of $1,053,905. During this same time period, Silverton sold nearly

150,000 shares of         yielding proceeds of $1,025,960. In total, the two brokerages sold more

than $2m worth of           stock in March 2017.

        Sentencing Guidelines Calculation

        There are no disputes between the government and probation with respect to the sentencing

guidelines calculations for either Patel or Tobin.

        The base offense level for Patel is seven because he was convicted of an offense for which

the maximum term of imprisonment was 20 years or more. 20 levels are added because the

intended loss amount for the crime was roughly $15 million, which includes both the actual loss as

well as the intended loss. An additional two levels are added because a significant portion of the

offense, which involved the transfer of large volumes of stock to the Silverton asset management

company in Switzerland, occurred outside the United States. Accordingly, and as Patel does not

dispute, the adjusted offense level is 29, and the total offense level, after credit for acceptance of

responsibility, is 26. This results in a guidelines sentencing range of 63 to 78 months of

imprisonment.

        With respect to Tobin, the guidelines are the same except that Tobin merits a four-level

enhancement for being a leader and organizer of five or more people under Section 3B1.1(a) of the

Sentencing Guidelines, which Tobin disputes. However, as described above, Tobin directed and



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organized a group of five nominees to hide his interest in the public shell company that ultimately

became EPTI. See PSR ¶ 21. On this ground alone, a leadership enhancement is merited.

Further, as set forth above and in the PSR, Tobin also took an active role in directing his other

co-conspirators as part of the securities fraud scheme. As examples, Tobin directed the CEO of

the IMST public shell to sign the merger agreement with the private company EPT and send the

fully executed merger agreement back to                                                 . Tobin

also directed the disposition of the funds obtained through the private placement of EPT. Tobin

directed that at least $1 million from the private placement be diverted into an escrow account at

       and from there, he directed that the funds be spent to fund a promotion of the EPTI stock

as part of the pump and dump. See PSR ¶ 39-45.

       Accordingly, the government agrees with probation that a four-level increase is warranted

and that the sentencing guidelines range of imprisonment is 97 to 121 months for Tobin.




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        Conclusion

        There is little doubt that both Tobin and Patel committed serious crimes. Tobin was a leader

and organizer of large-scale securities fraud. Patel committed his crimes while a practicing

attorney.




                                         the government recommends significant downward

variances for both defendants: five years of probation for Tobin and four months of imprisonment

for Patel.

                                                         Respectfully submitted,

                                                         ANDREW E. LELLING
                                                         United States Attorney


                                                      By: /s/ Eric S. Rosen
                                                           Eric S. Rosen
                                                           Assistant U.S. Attorney



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                             Certificate of Service

I hereby certify that this redacted document was filed on ECF on August 10, 2020.



                                    By:     /s/ Eric S. Rosen
                                            Eric S. Rosen
                                            Assistant U.S. Attorney




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